    AO 83 (Rev. 3/l   l) (CT llev l0/15) Surnnrons in a Criminal   Case


                                                        UNITED STATES DISTRICT COURT
                                                                                        for the
                                                                          District of Connecticut
                      United States of Amenca                                           )
                                                                                        )

                                                                                        )
                      Candace Christine Rispoli                                         )
                                                                                        )
                                                                                        )
                                                                                        )


                                                               SUMMONS IN A CRIMINAL CASE

   YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth below to
answer to one or more offenses or violations based on the following docutnent filed with the court:

f Indichnent f,                     Superseding      Indictment            I Infonnation I                    Superseding       Infonnation         I    Complaint

I     Probation Violation           Petition I            Supervised Release Violation               Petition     I    Violation      Notice      fl    Order of the Court

Place: Honorable Victor A. Bolden
       U.S. District Judge
                                                                                               Courtroom       No.:       Courtroom 2

            915 Lafayette Boulevard - Suite 417
            Bridgeport, CT 06604
                                                                                               Date and     Time:         ll|t4.ay   9,2019                 2:00 PM

This offense is briefly dcscribed as follows:
The defendant was discharged unsuccessfully from inpatient treatment.




Date:      51712019
                                                                                                                               officer's signature


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                                                                                                                      Prinied Name and Title{

I declare under penalty ofperjury that I have
I      Executed and returned the summons                                        I       Returned the summons unexecuted


 Date
                                                                                                                       Server's signaÍtre



                                                                                                                   Printed name and title

       INSTRUCTIONS: Check this box to lock fields when   completed. lssuing Officer   is the Clerk of Court once checked Form CAN NOT be edited, you may want to save this
      form then check this box.
